     CASE 0:19-cv-01219-DSD-SER Document 23 Filed 10/01/19 Page 1 of 1



                     UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                      Civil No. 19-1219 (DSD/SER)


Kristine M. West,

                   Plaintiff,

v.                                                   ORDER

Townsquare Media, Inc., a
Delaware corporation,

                   Defendant.



      This matter is before the undersigned on the Report and

Recommendation of United States Magistrate Judge Steven E. Rau

(R&R).     No objections to the R&R were filed within the time period

permitted.

      Accordingly, IT IS HEREBY ORDERED that:

      1.     The R&R [ECF No. 20] is adopted in its entirety; and

      2.     The motion for more definite statement [ECF No. 10] is

denied.



Date: October 1, 2019                   /s David S Doty
                                        David S. Doty, Judge
                                        United States District Court
